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PROB 12C - (Rev. D/NM-8/2014)                                                                            1834972

                                    UNITED STATES DISTRICT COURT
                                               FOR THE
                                       DISTRICT OF NEW MEXICO

             AMENDED PETITION FOR REVOCATION OF SUPERVISED RELEASE
Name of Offender:          Marco Holguin
Docket Number:             1084 1:15CR04274 -001JB
Assigned Judge:            Honorable James O. Browning, United States District Judge
Date of Original Sentence: 2016-06-01
Original Offense:          21 U.S.C. 841(a)(1): Distribution of 50 Grams and More of a Mixture and
                           Substance Containing Methamphetamine
Original Sentence:         BOP: 60 Months; TSR:4 Years
Date Supervision           04/16/2020
Commenced:
Date Supervision Expires:  04/15/2024
Other Court Action:        02/25/2020: A Request for Modifying the Conditions with the Consent of the
                           Offender was filed. Modification included the RRC condition be removed to
                           allow him to reside with his mother upon release from the BOP. The Court
                           agreed.

                                    04/15/2021: Report on Offender Under Supervision was filed after the
                                    offender provided a positive urine sample for opiates. The offender admitted
                                    to abusing heroin. This was his first positive urine sample. No court action
                                    recommended, and the Court agreed.

                                    05/11/2021: A Petition for Revocation of Supervised Release with a
                                    summons was filed due to the offender altering/tampering with his urine
                                    sample. The offender admitted to abusing heroin and marijuana. On May 26,
                                    2021, the Court approved a summons and initial court proceedings are set for
                                    June 24, 2021.


                                         PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Karina L Villalobos, alleges the offender has violated the following
condition(s) of supervised release.

Violation             Nature of Noncompliance
Type


SPC                   You must submit to substance abuse testing to determine if you have used a prohibited
                      substance. Testing may include urine testing, the wearing of a sweat patch, a remote alcohol
                      testing system, an alcohol monitoring technology program, and/or any form of prohibited
                      substance screening or testing. You must not attempt to obstruct or tamper with the testing
                      methods. You may be required to pay all, or a portion, of the costs of the testing.
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                     On May 09, 2021, the offender reported to The Evolution Group in Albuquerque, New
                     Mexico, to provide a urine sample. The offender was reminded about the collection
                     procedures however, disregarded the procedures and continued to submit a urine sample
                     which was not emitted from his body. The incident report indicates the offender utilized a
                     device to tamper with his specimen sample. The offender admitted to using a “whizzinator”
                     with fake urine to submit his urine sample.
 MC                  You must refrain from any unlawful use of a controlled substance. You must submit to one
                     drug test within 15 days of release from imprisonment and at least two periodic drug tests
                     thereafter, as determined by the court.

                     On May 11, 2021, the offender reported to the United States Probation Office and admitted
                     to this officer he last abused heroin on Sunday May 9, 2021. Furthermore, he admitted to
                     abusing Marijuana on Friday May 7, 2021 and Saturday May 8, 2021.



 AMENDED
 CONDITION

 SPC                 You must submit to substance abuse testing to determine if you have used a prohibited
                     substance. Testing may include urine testing, the wearing of a sweat patch, a remote
                     alcohol testing system, an alcohol monitoring technology program, and/or any form
                     of prohibited substance screening or testing. You must not attempt to obstruct or
                     tamper with the testing methods. You may be required to pay all, or a portion, of the
                     costs of the testing.

                     On May 27, 2021, the United States Probation Office received an incident report from The
                     Evolution Group in Albuquerque, New Mexico, the treatment provider where the offender
                     reports for substance abuse testing. According to the incident report, on May 26, 2021, the
                     offender reported as required to provide a random urine sample. During the collection of
                     his urine sample, the offender did not follow the collection procedures and kept his boxers
                     raised. Staff observed the offender’s “penis” to be plastic and shiny indicating he was using
                     a device and not his actual penis. The staff advised it was noticeable he had to squeeze his
                     “penis” quite hard for the “urine” to be forced out. Staff allowed the offender to complete
                     and submit his urine sample per their non-confrontation policy. It should also be noted the
                     urine was cold to the touch.


The maximum statutory penalty: 3 years imprisonment; 5 years supervised release. Underlying offense is a Class
B Felony.

The revocation range of imprisonment: 4 to 10 months. Criminal History Category II. Grade C Violation.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 05/27/2021.




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Submitted:                                       Approved:                        ☒ Phone Approval




Karina L Villalobos                              Jack E. Burkhead
U.S. Probation Officer                           Supervisory Assistant U.S. Attorney
Cell #: 505-508-9334


                                                 Date: 05/27/2021




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